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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 13-61138-CIV-ZLOCH

 GARRY BATES and
 RENAE BATES,

       Plaintiffs,
 vs.                                                       O R D E R

 WORLDPMX, INC., INVESTMENT
 QUALITY DIAMONDS, INC., SEAN
 MCCABE, AMERIFIRST TRADING
 CORP., C. LEO SMITH, and
 WORTH GROUP, INC.,

       Defendants.
                                       /

       THIS MATTER is before the Court upon Defendants’ Motions To

 Dismiss (DE Nos. 33, 35, and 38).         The Court has carefully reviewed

 said Motions, the entire court file and is otherwise fully advised

 in the premises.

       Plaintiffs Garry and Renae Bates initiated the above-styled

 cause with the filing of their Complaint (DE 1) against Defendants

 alleging    violation     of   Florida’s      Deceptive     and   Unfair   Trade

 Practices Act, false advertising, fraudulent inducement, and civil

 conspiracy.    Thereafter, an Amended Complaint (DE 30) was filed.

 Plaintiffs claim they were defrauded into investing $1.5 million in

 precious    metals,     that   they   never    received     the   metals   they

 purchased, and that they lost their entire investment.

       By their Motion To Dismiss (DE 33), Defendants WorldPMX, Inc.,

 Investment Quality Diamonds, Inc., and Sean McCabe move, pursuant

 to Rule 12(f) of the Federal Rules of Civil Procedure, to strike

 certain statements from the Amended Complaint (DE 30).                They also
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 move, in concert with the other Defendants by their own Motions To

 Dismiss (DE Nos. 35 & 38), to dismiss the Amended Complaint in its

 entirety on the basis that it fails to state a claim, in accordance

 with Rule 12(b)(6). The Court will address each challenge in turn.

        Rule 12(f) allows the Court to strike from a pleading any

 matter that is “redundant, immaterial, or impertinent.” Fed. R.

 Civ. P. 12(f).      However, the Court is mindful that “a motion to

 strike is a drastic remedy that is disfavored by the courts.” Agan

 v. Katzman & Korr, P.A., 328 F. Supp. 2d 1363, 1367 (S.D. Fla.

 2004).     The granting of such a motion is normally based on the

 prejudice the material to be stricken causes the moving party. See

 id.    After reviewing the Amended Complaint and the paragraphs at

 issue,     the Court finds that the statements contained therein do

 not rise to a level which prejudices any Defendant.           The Court is

 more     than   competent   to   ignore   extraneous    or   argumentative

 statements of fact.     Defendants WorldPMX, Inc., Investment Quality

 Diamonds, Inc., and Sean McCabe have not demonstrated any risk of

 prejudice in the material they seek to have stricken.

        The Court now turns to Defendants’ second and collective basis

 for dismissal, that the Amended Complaint (DE 30) fails to state a

 claim, pursuant to Rule 12(b)(6).          The Court notes that only a

 generalized statement of facts needs to be set out to comply with

 the liberal pleading requirements of the Federal Rules of Civil

 Procedure.      See Fed. R. Civ. P. 8(a).     The Supreme Court recently

 abrogated its test for      determining the sufficiency of a complaint

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 as formulated in Conley v. Gibson, 355 U.S. 41, 45-46 (1957).            See

 Bell Atlantic Corp. v. Twombly, 127 S.Ct. 1955 (2007). In Twombly,

 the Court stated that “[f]actual allegations must be enough to

 raise a right to relief above the speculative level.”           Id. at 1965.

 The Court further explained that “a well-pleaded complaint may

 proceed even if it strikes a savvy judge that actual proof of those

 facts    is   improbable,   and   that   recovery   is   very   remote   and

 unlikely.”     Id. (quotations omitted).

       Plaintiffs’ Amended Complaint (DE 30) clearly satisfies the

 pleading requirements of Rule 8(a).            To the extent it alleges

 fraud, Rule 9(b) requires that the Amended Complaint (DE 30) state

 with particularity the circumstances constituting fraud or mistake.

 This heightened pleading requirement of Rule 9(b) is designed to

 notify each defendant of the misconduct he or she is accused of

 committing.

       Typically, “boilerplate and conclusory allegations will not

 suffice. Plaintiffs must accompany their legal theory with factual

 allegations that make their theoretically viable claim plausible.”

 In re Rockefeller Center Properties, Inc. Securities Litigation,

 311 F. 3d 198, 216 (3d Cir. 2002).

         Elaborating on Rule 9(b)’s requirements, the Eleventh Circuit

 has held that Rule 9(b) is satisfied if the complaint sets forth

 the following:

           (1) precisely what statements were made in what
           documents   or  oral   representations   or   what
           omissions were made, and (2) the time and place of

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            each such statement and the person responsible for
            making (or, in the case of omissions, not making)
            same, and (3) the content of such statements and
            the manner in which they misled the plaintiff, and
            (4) what the defendants obtained as a consequence
            of the fraud.

 Ziemba v. Cascade Intern., Inc., 256 F. 3d 1194, 1202 (11th Cir.

 2001) (internal quotations omitted).

       In   the   instant   case,   the       Complaint   is   replete   with the

 requisite “who, what, when, where, and how” of the alleged scheme.

 See e.g., Kearns v. Ford Motor Co., 567 F. 3d 1120, 1124 (9th Cir.

 2009).     Ergo, Plaintiffs have satisfied Rule 9(b).

       Further, the questions of law that Defendants raise in their

 Motions (DE Nos. 33, 35, and 38) are better addressed at summary

 judgment, when the Court has a full record upon which to base its

 decisions.

       Accordingly, after due consideration, it is

       ORDERED AND ADJUDGED that Defendants’ Motions To Dismiss (DE

 Nos. 33, 35, and 38) be and the same are hereby DENIED.

       DONE AND ORDERED in Chambers at Fort Lauderdale, Broward

 County, Florida, this        14th            day of March, 2014.




                                               WILLIAM J. ZLOCH
                                               United States District Judge

 Copies furnished:

 All Counsel of Record




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